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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLORADO



 Civil Action No. 21-cv-00588-RBJ

  FRONTIER AIRLINES INC., et al.,

  Plaintiffs,

  v.

  MENZIES AVIATION (USA) INC.,

  Defendant.



                  STIPULATED MOTION TO DISMISS WITH PREJUDICE


       Plaintiffs Frontier Airlines Inc. et al. and Defendant Menzies Aviation (USA) Inc., by and

through their respective counsel, stipulate and agree that all claims set forth against Defendant

shall be dismissed with prejudice, each party to pay its own attorney fees and costs. This

Stipulation does not involve an admission of fault or liability by any party. It is further stipulated

and agreed that an appropriate Order of dismissal with prejudice will be entered herein upon the

filing of this Stipulation, without further notice by or to any party.


        Dated this 30 day of August, 2023.
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Respectfully submitted,


BUTLER WEIHMULLER KATZ CRAIG                      CONDON & FORSYTH LLP
LLP


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                             CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing STIPULATED MOTION TO DISMISS WITH
PREJUDICE has been served on August 30, 2023 on all current and active counsel of record,
including:


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                                                POYNTER LAW LLC
                                                Duly signed copy at the law office of
                                                Poynter Law LLC


                                                /s/ Shemaiah Brown___




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